588 F.2d 428
    Ruth TALIAFERRO and B. Patricia Dyson, Appellees,v.Henry I. WILLETT, Jr., President, Longwood College; WilliamE. Daniel, Jr., Longwood College, Appellants,American Association of University Professors, Amicus Curiae.
    No. 77-2213.
    United States Court of Appeals,Fourth Circuit.
    Argued Nov. 13, 1978.Decided Dec. 6, 1978.
    
      William H. Hefty, Asst. Atty. Gen., Richmond, Va.  (Marshall Coleman, Atty. Gen. of Va., and Walter H. Ryland, Deputy Atty. Gen., Richmond, Va., on brief), for appellants.
      John D. Grad, Alexandria, Va.  (Victor M. Glasberg and Janis L. McDonald, Hirschkop &amp; Grad, P. C., Alexandria, Va., on brief), for appellee.
      Sandra B. Durant, New York City, Counsel for American Ass'n of University Professors, on brief, for amicus curiae.
      Before BUTZNER, Circuit Judge, FIELD, Senior Circuit Judge, and WIDENER, Circuit Judge.
      PER CURIAM:
    
    
      1
      The president and the rector of Longwood College appeal a judgment awarding Ruth S. Taliaferro substantial compensatory damages under 42 U.S.C. § 1983 because the college wrongfully required her to retire prematurely from her tenured position.  The district court concluded that the officials had denied Taliaferro procedural due process.  Relying on our decisions in Thomas v. Ward, 529 F.2d 916 (4th Cir. 1975), and Burt v. Board of Trustees, 521 F.2d 1201 (4th Cir. 1975), the court found Taliaferro entitled to recover five years' back pay.
    
    
      2
      In Carey v. Piphus, 435 U.S. 247, 259-60 and n. 15, 98 S.Ct. 1042, 55 L.Ed.2d 252 (1978), decided after the district court's judgment in this case, the Supreme Court disapproved Thomas and Burt.  Carey held that, absent proof of other compensable tort injury, a plaintiff deprived of procedural due process can recover only nominal damages.
    
    
      3
      As the district court noted in its memorandum opinion, the procedures to which a tenured professor is entitled prior to termination are not the main issue in this case.  Taliaferro's claim is essentially an action for contract damages arising from the alleged violation of a tenured professor's right to teach until reaching the age of seventy.  Neither here nor in the district court has she suggested that procedural deprivations caused her independent injury.  In light of Carey, therefore, the controversy over the alleged breach of contract presents no substantial federal question.  See Berry v. City of Portsmouth, 562 F.2d 307 (4th Cir. 1977); Heath v. City of Fairfax, 542 F.2d 1236, 1238 (4th Cir. 1976).
    
    
      4
      Consequently, the judgment of the district court is vacated, and the case is remanded with directions to dismiss for lack of a substantial federal question.  We, of course, express no opinion on Taliaferro's claim for compensatory damages.  Each party shall bear its own costs.
    
    
      5
      Vacated and Remanded.
    
    